       Third District Court of Appeal
                               State of Florida

                        Opinion filed August 21, 2024.
       Not final until disposition of timely filed motion for rehearing.

                            ________________

                             No. 3D23-1247
                       Lower Tribunal No. 21-16685
                          ________________


                             Kristian J. Hall,
                                  Appellant,

                                     vs.

                           Dyan Myara, et al.,
                                 Appellees.



     An Appeal from the Circuit Court for Miami-Dade County, Lourdes
Simon, Judge.

      Sackrin &amp; Tolchinsky, P.A., and Alan D. Sackrin (Hallandale Beach),
for appellant.

     Edward F. Holodak, P.A., and Edward F. Holodak (Fort Lauderdale);
Joseph P. Klapholz, P.A., and Joseph P. Klapholz (Plantation); Cole, Scott
&amp; Kissane, P.A., and Scott A. Cole, and Carly M. Weiss, for appellees.


Before EMAS, SCALES and BOKOR, JJ.

     PER CURIAM.
      Affirmed. See Blumberg v. USAA Cas. Ins. Co., 790 So. 2d 1061,

1066 (Fla. 2001) (“In order to work an estoppel, the position assumed in the

former trial must have been successfully maintained. In proceedings

terminating in a judgment, the positions must be clearly inconsistent, the

parties must be the same and the same questions must be involved.”

(quotation omitted)); Starr Tyme, Inc. v. Cohen, 659 So. 2d 1064, 1066

(Fla. 1995) (“[A] defendant who is adjudicated guilty pursuant to a plea of

nolo contendere in a criminal prosecution is collaterally estopped from

seeking affirmative relief in or defending against a chapter 772 civil claim

that is based on the same conduct that resulted in the prior criminal

charges.”); § 772.14, Fla. Stat. (“A final judgment or decree rendered in

favor of the state in any criminal proceeding concerning the conduct of the

defendant which forms the basis for a civil cause of action under this

chapter, or in any criminal proceeding under chapter 895, shall estop the

defendant in any action brought pursuant to this chapter as to all matters as

to which such judgment or decree would be an estoppel as if the plaintiff

had been a party in the criminal action.”).




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